Case 2:03-cv-02519-BBD-dkv Document 14 Filed 08/17/05 Page 1 of 5 Page|D 6

 

IN THE UNITED sTATEs DISTRICT coURT F"~ED B"' -CF:__ o.c.
FoR THE WESTERN DISTRICT 0F TENNESSEE 0
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CARLITO 1). ADAMS, ) ~ rt t°‘~l$
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Petitioner, )
)
v_ ) No. 03~2519 -]>
)
s'rEPHEN DoTsoN, )
)
Respondent. )

 

ORDER GRANTING RESPONDENT’S MOTION TO DISMISS (Dkt. #10)

 

This matter is before the Court upon the motion to dismiss of Stephen Dotson (“Respondent”
or “Warden”) as to Carlito D. Adams’ (“Adams” or “Plaintiff’) habeas corpus petition. For the
following reasons, the Court GRANTS Respondent’s motion to dismiss.

I. PROCEDURAL AND FACTUAL BACKGROUND

Adams, a Tennessee prisoner proceeding pro se, petitioned this Court for a writ of habeas
corpus filed pursuant to 28. U.S.C. §2254, to challenge life sentences from a state court conviction
in Shelby County, Tennessee. The Respondent is recorded as Stephen Dot;son.1 Adams was
convicted by a state trial court jury of two counts of first-degree felony murder and two counts of

attempted felony murder. As a result of an appeal, on December ll, 1997, Adams’ conviction for

 

1 The only proper respondent to a habeas corpus petition is the custodian of the prisoner. Adams filed this
petition naming Robert Waller as the respondent because he was incarcerated at the DeBerry Special Need Facility
in Nashville, Tennessee. He has been transferred to the Whiteville Correctional Facility in Whjteville, Tennessee.
Accordingly, the Clerk deleted any reference to Robert Waller as the respondent

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Case 2:03-cv-02519-BBD-dkv Document 14 Filed 08/17/05 Page 2 of 5 Page|D 7

attempted felony murder was reversed and dismissed, while the two counts of first-degree felony
murder were affirmed On November 9, 1998, the Tennessee Supreme Court denied certiorari on
Adams’ first-degree felony murder conviction

In November, 1999, Adams filed a petition for post-conviction relief. On August 3, 2000,
the state trial court dismissed Adams’ post-conviction petition for failure to prosecute On April 3,
2002, the trial court denied Petitioner’s “Motion for Relief from Order Dismissing Post Conviction
Relief Petition for Failure to Prosecute.” The trial court’s order noted that Petitioner’s motion was
without merit and that the record of the case reflected that the Petitioner was represented by attomey,
Larry Copeland, but refused to meet with his counsel and to appear in court.

On June 18, 2003, Adams filed a federal habeas corpus petition in the United States District
Court for the Middle District of Tennessee On June 26, 2003, the petition was transferred to the
Western District of Tennessee pursuant to 28 U.S.C. §2241. On January 5 and 14, 2004, Adams
filed amendments to his petition, and on January 29 and February 6, 2004, he filed supplements to
his petition After Adams amended and supplemented his petition, this Court entered an order for
the Warden to respond on October 12, 2004. On December 8, 2004, the Warden filed a motion to
dismiss, with supporting memorandum of law.

ln its motion to dismiss, the Warden asserts that dismissal is warranted because Adams filed
his petition after the one-year statute of limitations imposed by the Antiterrorism and Effective Death
Penalty Act of 1996 (“AEDPA”), 28 U.S.C. § 2244(d)(1)(a). The one-year AEDPA statute of
limitations begins to run from the latest of four circumstances, one of which is the date on which the
Petitioner’s conviction became final by the conclusion of direct review. §§ 28 U.S.C. §

2244(d)(1)(a); Bronaugh v. Ohio, 235 F.3d 280, 283 (6th Cir. 2000); Isham v. Randle, 226 F.3d 691 ,

Case 2:03-cv-02519-BBD-dkv Document 14 Filed 08/17/05 Page 3 of 5 Page|D 8

694-95 (6th Cir. 2000). The running of the one-year limitation period is tolled, however, while “a
properly filed application for state post-conviction or other collateral review with respect to the
pertinent punishment or claim is pending.” 28 U.S.C. § 2244(d)(2).

The Tennessee Suprelne Court denied Adams’ petition for discretionary review on November
9, 1998. The one-year statutory period began to run ninety-days from that date, specifically,
February 7, 1999. Adams filed his post-conviction petition in November 1999, more than two
hundred days had run on the ADEAP limitation period. A properly filed application for state
post-conviction relief will toll the limitations period, 28 U.S.C. § 2244(d)(2), but it does not restart
the clock. Vroman v. Brigano, 346 F.3d 598, 602 (6th Cir.2003). On Apri13, 2000, when the state
trial court dismissed Adams’ post-conviction petition for failure to prosecute, the toll was raised on
Adams’ ADEAP limitation period and he had less than two hundred days remaining Adam’s
petition for a federal writ of habeas corpus, signed on June 18, 2003, is barred unless the statute of
limitations is equitably tolled. Adams bears the burden of persuading the court that he is entitled to
equitable tolling. §§ Griffin v. Rogers, 308 F.3d 647, 653 (6th Cir. 2002) (“Griffin I” ).

A traditional equitable tolling analysis includes the following five factors: (1) lack of notice
of the filing requirement; (2) lack of constructive knowledge of the filing requirement; (3) diligence
in pursuing one’s rights; (4) absence of prejudice to the defendant; and (5) the plaintiffs
reasonableness in remaining ignorant of the legal requirement for filing his claim. Du_nlap__\Lm_tgl
SM, 250 F.3d1001, 1008 (6th Cir. 2001); MML 851 F.2d 146, 151 (6th Cir. 1988). “It
is well-settled that ignorance of the law alone is not sufficient to warrant equitable tolling.” won

v. Lewis, 365 F.3d 529, 532 (6th Cir. 2004) (quoting Rose v. Dole, 945 F.2d 1331, 1335 (6th Cir.

 

1991)). The Court finds that equitable tolling is inappropriate in the case at bar because well over

Case 2:03-cv-02519-BBD-dkv Document 14 Filed 08/17/05 Page 4 of 5 Page|D 9

two years had passed from the end of state court review of Petitioner’s post-conviction motion and
the filing of his federal writ of habeas corpus petition. Furthermore, the Court finds that Adams
should be precluded from equitable tolling of his statute of limitations because the trial court’ s denial
of his “Motion for Relief from Order Dismissing Post Conviction Relief Petition for Failure to
Prosecute” noted that he was represented by counsel but refused to meet with his counsel and also
refused to appear in court.

IV. CONCLUSION

The Court finds that Petitioner’s habeas corpus petition is untimely. Accordingly, this Court

GRANTS the Warden’s motion to dismiss

I'l` IS SO ORDERED this ZQ Aday of(&§é£ , 2005.

 

B RNICE BO IE DONALD
ITED STATES DISTRICT COURT JUDGE

 

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Honorable Bernice Donald
US DISTRICT COURT

